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Quinn,Robert E

nue as

From: Quinn,Robert E

Sent: Sunday, October 04, 2020 11:56 PM

To: ‘Claudia Wilner’

Ce: ‘Darius Charney’; 'Chinyere Ezie’; ‘kwilliams@wnylc.com’; ‘Britney Wilson’;
‘jjoachim@cov.com'

Subject: RE: BLRR v. COB - discovery deficiencies

-COB018651-COB018715 may also be responsive to this point.

From: Quinn,Robert E

Sent: Friday, October 02, 2020 8:48 AM

To: 'Claudia Wilner' <wilner@nclej.org> :

Cc: Darius Charney <dcharney@ccrjustice.org>; Chinyere Ezie <cezie@ccrjustice.org>; kwiliams@wnyle com; Britney
Wilson <wilson@nclej.org>; jjoachim@cov.com

Subject: RE: BLRR v. COB - discovery deficiencies

On point 6, the training bulletins bates numbered COBO18383-COB018498 which were uploaded to Covington
yesterday, may be responsive. | will have another batch of training bulletins this afternoon or tomorrow and will
supplement formal discover responses once completed.

From: Claudia Wilner [mailto:wilner@nclej.org]

Sent: Friday, September 25, 2020 1:34 PM

To: Quinn,Robert E <rquinn@ch.ci.buffalo.ny.us>

Cc: Darius Charney <dcharney@ccrjustice.org>; Chinyere Ezie <cezie@cerjustice. org>; kwilliams@wnylc.com; Britney
Wilson <wilson@nclej.org>; jjoachim@cov.com

Subject: BLRR v. COB - discovery deficiencies

Rob, please see the attached correspondence.

Claudia Wilner

4) Director of Litigation and Advocacy (pronouns she/her)
National Center for Law and Economic Justice

275 Seventh Avenue, Suite 1506, New York, NY 10001-6860

212-633-6967 | wilner@nclej.org | www.nclej.org

He

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Quinn,Robert E

From: Quinn,Robert E
Sent: Friday, October 02, 2020 11:44 AM
- To: ‘Darius Charney’
Cc: Claudia Wilner; Chinyere Ezie; kwilliams@wnylc.com; Britney Wilson; jjoachim@cov.com
Subject: RE: BLRR v. COB - discovery deficiencies

The reference to Judge Sedita was not made in regard to those files, or for any point other than informing you of status
of that proceeding.

As previously indicated, I’ve turned over all IAD files in my possession, believe some were destroyed per document.
retention policies, and am trying to get more information on that but have been unable due to people not being in office
because of Covid. |’ll try to go into office Wednesday of next week and will look into further, with the hopes of having
more detailed information by next Friday.

From: Darius Charney [mailto:dcharney@ccrjustice.org]

Sent: Friday, October 02, 2020 11:01 AM

To: Quinn,Robert E <rquinn@ch.ci.buffalo.ny.us>

Cc: Claudia Wilner <wilner@nclej.org>; Chinyere Ezie <cezie@ccrjustice.org>; kwilliams@wnylc.com; Britney Wilson
<wilson@nclej.org>; jjoachim@cov.com

Subject: Re: BLRR v. COB - discovery deficiencies

Rob-

On your last point, re Judge Sedita's upcoming decision on the preliminary injunction in the Unions' lawsuit,
you seem to be conflating the issue of whether the 73 IAD files must remain attorneys-eyes-only with your
Court-mandated obligation to produce them to plaintiffs’ counsel at all. Judge Sedita's upcoming decision in no
way impacts your obligation under the Court's December 19, 2019 Order (ECF No. 51 at 19) to produce the
remaining 73 IAD files to plaintiffs' counsel in this litigation pursuant to the Attorneys-Eyes-Only
Confidentiality Order entered on January 24, 2020. ECF No. 54. Even if Judge Sedita's decision impacts
whether those files must remain attorneys-eyes only (which plaintiffs continue to believe is not the case), that in
no way lessens your obligation to produce them to plaintiffs counsel under the existing Attorneys-Eyes-Only
Confidentiality Order. Indeed, you have already produced 63 of the IAD files under this confidentiality order
back when NY Civil Rights Law 50-a's categorical bar on pubic disclosure of police officer discipline records
was:still in effect. Also, as you may be aware, the Unions' attorney stated on the record at the September 16
hearing that there is nothing in Judge Sedita's July 24 TRO that impacts a plaintiff's right to receive such
records in discovery in a federal lawsuit against the City, and Judge Sedita himself expressed doubt that any
federal court would feel bound by his TRO in any event. See September 16, 2020 Hrg Tr. at 41, 44-45.

Thus, please indicate when you will produce the remaining 73 IAD files to Plaintiffs’ counsel as Attomeys-
Eyes-Only records, or, if the files were lost or destroyed, when you will answer plaintiffs’ questions regarding

their whereabouts.

Darius
Case 1:18-cv-00719-CCR Document 67-3 Filed 11/06/20 Page 4 of 6

On Fri, Oct 2, 2020 at 10:07 AM Quinn,Robert E <rquinn@ch.ci.buffalo.ny.us> wrote:

As for a schedule of production, responding does take some time so if you want to set a schedule that will
move depositions forward sooner (i.e., complete a custodian or group of custodians by next week so we can
schedule a deposition) that would make sense and I’d be fine with it.

If you don’t want to do that we can pick a date to have any issues in your letter addressed, including completed
production of e-discovery, and schedule depositions to be conducted sometime after that. Given the pace and
amount of e-discovery, I think realistically that could be done by the end of this month (hopefully sooner if the
kids return to school) and we can schedule depositions in November and/or December. Let me know if this is

_ ok, or if you’d prefer some other schedule. We’re getting through this as quickly as possible so will try to
work with however you want to proceed. Either way, I’d suggest we set aside some dates now as I’m sure
everyone has a busy calendar.

Again, we’re getting through this as quickly as possible under the circumstances, but given the scope you’ve
outlined (see, e.g., your letter on 70 depositions) and number of requests and non-party subpoenas I’ ll just note
that it seems apparent that discovery will be an ongoing process throughout the litigation so I’m not sure all of
the rhetoric is particularly helpful in trying to work through a case like this.

Also, as I believe you know, Judge Sedita is scheduled to decide the TRO/Injunction next week and I’1l advise
as I know what the decision is.

From: Quinn,Robert E

Sent: Friday, October 02, 2020 8:55 AM

To: 'Claudia Wilner' <wilner@nclej.org>

Ce: 'Darius Charney’ <dcharney@ccrjustice.org>; 'Chinyere Ezie' <cezie@ccrjustice.org>;
‘kwilliams@wnyle.com' <kwilliams@wnylc.com>; ‘Britney Wilson' <wilson@nclej.org>; '‘jjoachim@cov.com'
<jjoachim@cov.com>

Subject: RE: BLRR v. COB - discovery deficiencies

P’m hoping to get through Lt. Michael Quinn today and will detail the production as previously
discussed. Again, if you want certain custodians or terms searched in a particular order please let me know.

From: Quinn,Robert E

Sent: Friday, October 02, 2020 8:48 AM

To: 'Claudia Wilner’ <wilner@nclej.org>

Ce: Darius Charney <dcharney@cerjustice.org>; Chinyere Ezie <cezie@ccrjustice.org>;

2
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kwilliams@wnylc.com; Britney Wilson <wilson@nclej.org>; jjoachim@cov.com
Subject: RE: BLRR v. COB - discovery deficiencies

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From: Claudia Wilner [mailto:wilner@nclej.org]

Sent: Friday, September 25, 2020 1:34 PM

To: Quinn,Robert E <rquinn@ch.ci.buffalo.ny.us>

Ce: Darius Charney <dcharney@ccrjustice.org>; Chinyere Ezie <cezie@ccrjustice.org>;
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Subject: BLRR v. COB - discovery deficiencies

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Rob, please see the attached correspondence.

i Claudia Wilner

Director of Litigation and Advocacy (pronouns she/her)
National Center for Law and Economic Justice

275 Seventh Avenue, Suite 1506, New York, NY 10001-6860
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at info@nclej.org and destroy the original message and all copies.
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Darius Charney
Senior Staff Attorney
Pronouns: He/Him

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